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                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF COLUMBIA

-----------------------------------X
UNITED STATES OF AMERICA,         :                      Criminal No. 1:21-CR-40 (TNM)
                                  :
                                  :
          v.                      :
                                  :
PATRICK MCCAUGHEY III,            :
                                  :
               Defendant.         :
                                  :                      April 15, 2022
-----------------------------------X


                       MOTION TO DISMISS COUNT THIRTY-FOUR

        The defendant Patrick McCaughey III, through counsel, respectfully moves

pursuant to Fed.R.Crim.Proc. Rule 12(b)(3)(B)(v) that this Court dismiss Count 34 of the

5th Superseding Indictment, charging him with Obstruction of an Official Proceeding, in

violation of 18 U.S.C. §1512(c)(2).



   I.        INTRODUCTION

        Count Thirty-Four of the 5th Superseding Indictment charges Mr. Mccaughey as

follows:

           On or about January 6, 2021, within the District of Columbia and
           elsewhere, Patrick E. McCaughey III… attempted to, and did, corruptly
           obstruct, influence, and impede and official proceeding, that is, a
           proceeding before Congress, specifically, Congress’s certification of the
           Electoral College vote as set out in the Twelfth Amendment of the
           Constitution of the United States and 3 U.S.C. §§ 15-18.

           The subject statute, 18 U.S.C. §1512(c)(2), is contained within Chapter 73 of

 Title 18, which is entitled “Obstruction of Justice.” Section 1512 is entitled “Tampering

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with a witness, victim, or an informant.” A review of Chapter 73 generally, and §1512

in particular, reveals a clear and singular concern of Congress, namely, to punish those

who undertake malicious efforts to adversely affect the administration of justice. See,

18 U.S.C. §§1501 (“Assault on process server”); 1502 (“Resistance to extradition

agent”); 1503 (“Influencing or injuring officer or juror generally”); 1504 (“Influencing juror

by writing”); 1505 (“Obstruction of proceedings before departments, agencies and

committees”); 1506 (“heft or alteration of record or process; false bail”); 1507 (“Picketing

or parading”); 1508 (“Recording, listening to, or observing proceedings of grand or petit

jurors while deliberating or voting”); 1509 (“Obstruction of court orders”); 1510

(“Obstruction of criminal investigations”); 1511 (Obstruction of State or local law

enforcement”); 1513 (“Retaliating against a witness, victim, or an informant”); 1514

(“Civil action to restrain harassment of a victim or witness”); 1514A (“Civil action to

protect against retaliation in fraud cases”); 1515 (Definitions…); 1516 (“Obstruction of

Federal audit”); 1517 (“Obstructing examination of financial institution”); 1518

(“Obstruction of criminal investigations of health care offenses”); 1519 (“Destruction,

alteration, or falsification of records in Federal investigations and bankruptcy”); and

1520 (“Destruction of corporate audit records”).

       It is clear that the allegations in Count Thirty-Four of the Indictment do not allege

a legally cognizable crime, both because (a) the events at the Capitol on January 6,

2000, as alleged, do not fall within the applicable definition of “official proceeding” as

set forth in 18 U.S.C. §1515(a)(1), and (b) the defendant’s conduct as alleged therein

does not fall within the ambit of the charged statute generally.




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   II.      DISCUSSION

         A. Standard Of Review

         A defendant may move to dismiss an indictment on the grounds that it fails to

 state an offense. Fed. R. Crim. P. 12(b)(3)(B). In considering a Rule 12 motion to

 dismiss, “the Court is bound to accept the facts stated in the indictment as true.” United

 States v. Syring, 522 F. Supp. 2d 125, 128 (D.D.C. 2007); United States v. Sampson,

 371 U.S. 75, 78 (1962). Accordingly, “the Court cannot consider facts beyond the four

 corners of the indictment.” United States v. Ring, 628 F. Supp. 2d 195, 204 (D.D.C.

 2009) (internal quotations omitted).

         B. The Electoral College Certification Was Not An “Official Proceeding.”

         Count Thirty-Four of the 5th Superseding Indictment charges that Mr. McCaughey

 obstructed an “official proceeding,” in violation of 18 U.S.C. § 1512(c)(2) and it identifies

 that “proceeding” as “Congress’s certification of the Electoral College vote.”

 Nevertheless, as set forth below, the Electoral College certification before Congress

 does not constitute an “official proceeding” under 18 U.S.C. §§ 1512(c)(2) and

 1515(a)(1).

              1.   As with All Penal Statutes, § 1512 Must Be Strictly
                   Construed.

         To determine legislative intent, courts “always begin with the text of the statute.”

Am. Fed'n of Gov't Emps., AFL–CIO, Local 3669 v. Shinseki, 709 F.3d 29, 33 (D.C.Cir.

2013). “It is elementary that the meaning of a statute must, in the first instance, be sought

in the language in which the act is framed, and if that is plain...the sole function of the


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courts is to enforce it according to its terms.” United States v. Hite, 769 F.3d 1154, 1160

(D.C. Cir. 2014) (quoting Caminetti v. United States, 242 U.S. 470, 485 (1917) (internal

quotes omitted)). “The search for the meaning of the statute must also include an

examination of the statute's context and history.” Hite, 769 F.3d at 1160.

          “[D]ue process bars courts from applying a novel construction of a criminal statute

to conduct that neither the statute nor any prior judicial decision has fairly disclosed to

be within its scope.” United States v. Lanier, 520 U.S. 259, 268 (1997). Specifically in

relation to § 1512, the Supreme Court has instructed lower courts to “exercise restraint

in assessing the reach of [the]...statute both out of deference to ...Congress...and out of

concern that a fair warning should be given to the world in language that the common

world will understand, of what the law intends to do if a certain line is passed[.]” United

States v. Arthur Andersen, LLP, 544 U.S. 696, 703 (2005) (internal citations omitted).

    Any “ambiguity” as to the meaning of terms in a statute must be construed against the

    Government and in favor of a defendant under the rule of lenity. See, e.g., United States

    v. Cook, 594 F.3d 883, 890 (D.C. Cir.), cert. denied, 560 U.S. 947 (2010



               2. The meaning of the term “official proceeding” is not clear from a reading
                  of the statute. 1

          There is nothing clear about the definition of “official proceeding” in 18 U.S.C.

§1515(a)(1). Like the balance of the whole of Chapter 73 of Title 18, the three out of for

subsections of §1515(a)(1) that are not applicable herein each refer to some sort of a



1Presumably the government is taking the position that the electoral college certification
process comprises “a proceeding before Congress” as set forth by 18 U.S.C.
§1515(a)(1)(B).
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hearing or adversarial process. Subsection (1)(B), however, merely indicates that it is

“a proceeding before Congress.”        Congress has many roles: it is responsible for

certifying the presidential electoral vote every 4 years, it debates and votes on bills, it

conducts oversight hearings regarding various agencies, and its various committees

have broad investigatory powers, which often involve adversarial proceedings with

witnesses testifying under oath.       As much as the latter of the aforementioned

Congressional functions fits nicely within the overarching “obstruction of justice” theme

of Chapter 73 of Title 18, the first two – certifying the electoral college vote and debating

and voting on bills – simply do not fit in any way shape or form; other than the fact that

those actions are “official.” Courts that have encountered §1512(c)(2) have, rightly,

focused more on the meaning of the word “proceeding.”


            3. The plain meaning of “proceeding” envisions some sort of adversarial
               hearing; not a mere Congressional vote.

       “Proceeding” is “a term defined in legal dictionaries as ‘[a]n act or step that is part

of a larger action” and “the steps taken or measures adopted in the prosecution or defense

of an action,’ (quoting Black's Law Dictionary 1324 (9th ed. 2009)), or as ‘a particular step

or series of steps in the enforcement, adjudication, or administration of rights, remedies,

laws, or regulations’ (quoting Merriam-Webster's Dictionary of Law 387 (1996)). Altman

Contractors, Inc. v. Forster Specialty Ins. Co., 832 F.3d 1318, 1323 (11th Cir. 2016)

(citation omitted).   A district court which had the opportunity to examine this same

definitional statute years before the events of January 6, 2020, found that Congress

intended “proceeding” to mean some sort of a hearing.




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       In U.S. v. Dunn, 434 F.Supp.2d 1203, (M.D. AL 2006), the government tried to

convince the court that an FBI investigation was an “official proceeding” under 18 U.S.C.

§§ 1512(c)(2) and 1515(a)(1)(C). The Court, after analyzing the meaning of the word

“proceeding,” found that “[n]ot only does the common and ordinary understanding of

“proceeding” connote a hearing, see Black's Law Dictionary 1221 (7th Ed.1999) (defining

“proceeding” as a hearing or any procedural means for seeking redress from a tribunal or

agency), but the term “proceeding” is also used throughout § 1515(a)(1) to describe

events that are best thought of as hearings (or something akin to hearings): for example,

federal court cases, grand jury testimony, Congressional testimony, and insurance

regulatory hearings, 18 U.S.C. § 1515(a)(1)(A), (B), & (D). Id., at 1207. The Court

expressly understood §1515(a)(1)(B) to be akin to a hearing before Congress

(“Congressional testimony”) and not merely anything that occurs officially in the U.S.

Capitol. Id. This conclusion is further bolstered by the government itself.


            4. The government’s police force tacitly acknowledges that the subject
               allegations do not fit within the ambit of 18 U.S.C. §1512.

       In terms of the Department of Justice’s handling of obstruction of justice matters,

its Criminal Justice Manual provides that “…obstruction of a public corruption

investigation or a congressional proceeding would fall under the supervision of the Public

Integrity Section of the Criminal Division.”         https://www.justice.gov/jm/jm-9-69000-

protection-government-processes#9-69.100 (Exhibit D) The manual provisions regarding

the Public Integrity Section then provide that:

       “[t]he Public Integrity Section (PIN) oversees the investigation and prosecution of
       all federal crimes affecting government integrity, including bribery of public officials,
       election crimes, and other related offenses. PIN investigates and prosecutes some
       of the most sensitive, complex, and contentious public corruption cases handled

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       by the Department, including cases involving elected and appointed officials at all
       levels of government. PIN also serves as a source of advice and expertise for
       federal prosecutors and agents regarding the handling of public corruption cases
       nationwide, and plays a key role in developing Department policy concerning
       public corruption and election crime investigations and prosecutions.”
       https://www.justice.gov/criminal-pin (Id)

       It is clear that allegations such as the ones in Count Thirty-Four of the Indictment

do not fall within the ambit of the DOJ’s “obstruction of justice” policies. This case does

not involve allegations of public corruption or election fraud. It is a case of a mob of

unconnected individuals who allegedly took their protest too far and disrupted the orderly

conduct of a quadrennial ceremony. Even the enforcement arm of the government

seemingly acknowledges that Congress did not consider “protests gone bad” as

“obstruction of justice.”

       This conclusion – that Congress did not intend for the pertinent allegations fall

within its “Obstruction of Justice” chapter – is further bolstered by the way the government

has charged other similarly situated individuals in the recent past.


            5. Past government conduct provides further implicit acknowledgement that
               these allegations do not constitute the crime charged.

       In October 2018, during the confirmation hearings of Supreme Court Justice

Kavanaugh, a couple of hundred protestors were arrested, inside of the Capitol building,

because they obstructed, impeded and attempted to influence the outcome of the said

confirmation process.

       “Throughout the proceedings, protesters also called on senators to "be a hero" and
       demand that they say "no" to Kavanaugh. As they demonstrated, they were led
       out one by one as proceedings were repeatedly brought to a halt. Capitol Police
       told Newsweek that 37 people had been removed from the committee room in the
       Hart Senate Office Building on Thursday, many charged with disorderly conduct
       on Thursday. Another 12 were reportedly removed from the area outside the
       hearing room and charged with "crowding, obstructing or incommoding." One man

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       was arrested in the judiciary Committee room and was charged with disorderly
       conduct, resisting arrest, simple assault and disruption of Congress. On
       Wednesday, police made the decision to temporarily close the hearing to additional
       spectators,   leaving     seats  empty,    according       to   USA       Today.”
       https://www.newsweek.com/hundreds-people-have-been-arrested-over-
       kavanaughs-confirmation-hearing-1110549

Not a single such protestor was charged under 18 U.S.C. §1512; which makes sense, as

the facts simply don’t fit that crime.

       In February 2018, almost a dozen people obstructed, interfered with, and

attempted to influence a Congressional Rules Committee Hearing.

       “Disability rights advocates were arrested on Tuesday for disrupting a House Rules
       Committee hearing to prepare legislation that would create additional requirements
       for filing lawsuits under the Americans with Disabilities Act (ADA). Capitol Police
       spokeswoman Eva Malecki confirmed that 10 individuals were arrested for
       “unlawfully demonstrating” in the Capitol and charged with crowding, obstructing
       or incommoding as outlined by the D.C. code.
       https://thehill.com/homenews/house/373721-capitol-police-arrest-disability-rights-
       protesters-for-disrupting-hearing/

Not a single protestor was charged under 18 U.S.C. §1512 even though they blatantly

interfered with and obstructed an official Congressional hearing. But again, that makes

sense, as this is not the sort of conduct contemplated by Congress via § 1512 or Chapter

73 in its entirety. A look at other provision of §1512 provide further support for the idea

that Congress did not intend that any official Congressional action constituted an “official

proceeding.”

       Likewise in January and February 2017, Capitol Police arrested over 100 individual

protesters for disrupting active Congressional hearings. But they were charged with

Misdemeanor offenses for disrupting Congress; not the 20-year felony that Mr.

McCaughey faces – and he never even got close to the Certification, or anywhere inside

of the actual Capitol for that matter.



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       “The criminal charge disruption of Congress is used against people suspected of
       protesting inside a meeting, session or gathering of Congress. The 55 arrests for
       disruption in January, though a marked increase from 2016, do not include arrests
       for other unlawful activities on U.S. Capitol grounds where members of Congress
       were not present. In 2016, police arrested nine people for disruption of
       congressional proceedings. In spring 2016, the agency arrested hundreds of
       people for unlawful protests outside the U.S. Capitol Building and out of range of
       members          of         Congress         and       formal       proceedings.”
       https://www.nbcwashington.com/news/local/55-arrests-for-disrupting-congress-
       in-january/29989/

       And in September of 2017, another large group of disruptive protesters who were

obstructing, interfering with, and attempting to influence Congress were arrested but not

charged as this defendant has been.

       “Protesters in wheelchairs were removed from a hearing on the Republican health
       care bill Monday afternoon after disrupting the session with chants of "No cuts to
       Medicaid! Save our liberty!" The disruption prompted Senate Finance Committee
       Chairman Orrin Hatch, R-Utah, to adjourn the session until the protesters could be
       cleared out….Fifteen demonstrators were arrested and charged with disruption of
       Congress," Malecki said, adding, "143 individuals were arrested after refusing to
       cease and desist with their unlawful demonstration activities in the hallway.
       Twenty-three individuals were charged with crowding, obstructing, or
       incommoding and resisting arrest.” https://abcnews.go.com/Politics/protesters-
       wheelchairs-removed-police-disrupting-graham-cassidy-bill/story?id=50081992

       To be sure, the defendant believes his is a case of selective prosecution; however,

the import of the above-cited disparities is important in that it arises almost analogously

to a “consciousness of guilt.” Defendant is fairly certain that the government couldn’t point

to a single obstructive Congressional protester or interloper who, prior to January 6, 2000,

has been charged under 18 U.S.C. §1512(c)(2)       2




2The fact that this investigation is the most politically charged in DOJ history, as reflected
by (a) the continual arrests of relatively minor protestors, (b) the government’s pattern of
not allowing line prosecutors to plea bargain the cases they are handling, etc., certainly
explains why the government has pushed the envelope too far in trying to fit round
allegations into a square statutory scheme.
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            6. An analysis of §1512(c)(2) in the context of the rest of §1512 and of the
               whole of Chapter 73 of Title 18, provides still further indicia that Congress
               did not intend for the present allegations as “obstruction of justice.”

       In 18 U.S.C. §1512(f)(1), for instance, Congress provided that “an official

proceeding need not be pending or about to be instituted at the time of the offense…”

Under no common-sense analysis can the Electoral Certification of January 6 fit within

the rubric of subsection (f)(1); at no time is this official Congressional certification “about

to be instituted” – or “instituted” at all. It takes place every 4 years at 1:00 pm on January

6. The language of §1512(f)(1) clearly contemplates an adversarial hearing of some sort;

some kind of process where justice is supposed to be administered.

       Moreover, and as set forth in the Introduction above, the entirety of Chapter 73 –

and every single statutory subsection therein – surrounds the concept of obstruction of

justice.   It defies logic, however, to believe that Congress, while addressing a spate of

corporate fraud nationwide in the seminal 2002 Sarbanes-Oxley Act, decided to

massively expand the scope of Chapter 73 by applying its obstruction prohibitions to any

and all matters that occur in the Congress, smack in the middle of both §§1512/1515 and

the whole chapter. Even within the definitional statute, §1515(a)(1), the three (3) other

definitions of “official proceeding” each surround the administration of justice in one forum

or another. 18 U.S.C. §§1515(a)(1)(A), (C) and (D). The defendant’s interpretation is still

further bolstered by the legislative history.




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             7. The legislature explained in clear terms that the reason they added
               subsection (c) to 18 U.S.C. 1512 was to close an existing loophole; not to
               greatly expand the scope of its “obstruction of justice” statutory scheme.

      The legislation that initially created 18 U.S.C. §1512, PL 97-291, was entitled the

“Victim and Witness Protection Act of 1982,” and Congress’ statement of “findings and

purposes” is replete with references to victims and informants in the criminal justice

system. (Exhibit A) And when subsection (c)(2) was added to 18 U.S.C. §1512 via the

historic “Sarbanes-Oxley” corporate accountability act in 2002, the U.S. Senate, through

Senator Orrin Hatch, was clear during floor debate that the sole reason for the addition of

subsection (c) to §1512 was to close a “loophole” that previously existed in the overall

statutory scheme, whereby it was a federal offense to persuade someone else to obstruct

justice – but it was lawful to obstruct on one’s own. Arnold & Porter Legislative History:

P.L. 107-204, Westlaw: SAROX-LH 41-D, at p. 72 (2002) (pertinent excerpt attached as

Exhibit B)


       C. 18 U.S.C. §1512(c)(2) Is Limited By Subsection (c)(1) And Doesn’t Apply To
          The Facts As Alleged.”

      In the interest of brevity and judicial economy, the defendant expressly adopts and

incorporates herein the analysis and reasoning of Judge Nichols in his Memorandum

Opinion of March 7, 2022 in U.S. v. Garrett Miller, 1:21-cr-119 (CJN), 2022 WL 823070

(D.C. District March 7, 2022) (A copy of that Opinion is attached hereto as Exhibit C), as

it applies squarely, and equally, to Mr. McCaughey.




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   III.     CONCLUSION

          For the foregoing reasons, and because of long-standing precedent which

provides that criminal statutes, such as the one that the government is stretching to use

herein be strictly construed, Mr. McCaughey respectfully requests that the Court

dismiss Count Thirty-Four of the 5th Superseding Indictment for failure to state a claim.


                                                       Respectfully submitted,



                                                By:    ______/s/________________
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                             CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed and served

electronically on all parties of record, on this 15th day of April in the year of

our Lord 2022.

                                  ____________/s/_______________________
                                  Lindy R. Urso




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